USDC IN/ND case 2:01-cr-00098-JTM-APR           document 1314        filed 05/31/12   page 1 of 6


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

  UNITED STATES OF AMERICA                  )
                                            )
                v.                          )       No. 2:01 CR 98
                                            )
  BOBBY DAVIS                               )

                                   OPINION AND ORDER

         Defendant Bobby Davis has moved for a sentence reduction under 18 U.S.C.

  § 3582(c)(2), as a result of Amendment 750 to the United States Sentencing Guidelines.

  (DE # 1291.) Defendant originally pleaded guilty to distributing crack cocaine in

  violation of 21 U.S.C. § 841(a)(1). At sentencing, the court determined that defendant

  was responsible for distributing in excess of 1.5 kilograms of crack. (Bobby Davis

  Sentencing Tr. 59, Feb. 11, 2003). This corresponded to a base offense level of 38. (Id.)

  Defendant was also given a two-level increase for possession of a dangerous weapon.

  (Id. at 59-60.) Defendant’s criminal history category was I. (Presentence Investigation

  Report at 7.) A base offense level of 40 combined with a criminal history category of I

  resulted in a guideline range of 292-365 months. (Bobby Davis Sentencing Tr. 61, Feb.

  11, 2003.) The minimum of the guideline range (292) was higher than the statutory

  maximum sentence (240), however, and defendant was given a sentence of 240 months

  pursuant to section 5G1.1 of the United States Sentencing Guidelines. (DE # 1195.)

         Defendant moved for a reduced sentence in 2009 after the United States

  Sentencing Commission promulgated Amendment 706, which, generally speaking,

  lowered the sentencing range for offenses involving crack by two levels. (DE # 1128.)
USDC IN/ND case 2:01-cr-00098-JTM-APR           document 1314      filed 05/31/12   page 2 of 6


  The government and defendant agreed that the amendment resulted in a new

  sentencing range of 235-293 months. (DE # 1195.) The court therefore reduced

  defendant’s sentence to 235 months. (Id.)

         Defendant has now moved for a sentence reduction under Amendment 750 to

  the United States Sentencing Guidelines. (DE # 1291.) Defendant argues that he is

  eligible for a reduction because he is only responsible for 1.5 kilograms of crack.

  (DE # 1291 at 6.) The government’s position is that defendant was found responsible for

  in excess of 1.5 kilograms of crack, and that the relevant conduct portion of the PSR

  indicates that defendant is responsible for at least 3.675 kilograms of crack. (DE # 1307

  at 1-2.) Thus, the government argues that defendant should be held responsible for

  3.675 kilograms of crack, and his motion for a reduced sentence should be denied.1 (Id.)

         At his sentencing hearing, defendant challenged the drug quantity amount in the

  Presentence Investigation Report “(PSR”). (Original Addendum to the PSR at 1.) He

  argued he was only responsible for .81 grams of crack. (Id.) After hearing arguments on

  the issue, the court rejected defendant’s argument and adopted the position of the

  government and the probation office as to quantity. (Bobby Davis Sentencing Tr. 58-59,

  Feb. 11, 2003). Thus, the court held defendant responsible for “more than 1.5 kilograms




         1
           The most recent addendum to the Presentence Investigation Report does
  indicate that defendant is eligible for a reduction. (DE # 1294.) That conclusion,
  however, is based only on the court’s previous quantity finding that defendant is
  responsible for distributing in excess of 1.5 kilograms of crack, and not the more specific
  factual finding the court makes later in this opinion.

                                               2
USDC IN/ND case 2:01-cr-00098-JTM-APR           document 1314       filed 05/31/12    page 3 of 6


  of crack cocaine base.”2 (Id. at 59.) That quantity finding remains the only finding the

  court has made in defendant’s case.

         A review of the PSR and the original addendum to the PSR indicates that

  defendant is responsible for distributing 3.675 kilograms of crack. In response to

  defendant’s objection to the PSR’s quantity finding, the probation office stated, in part:

         The drug amount attributed to the defendant is based on controlled drug
         purchases from the defendant and his co-conspirators, as well as statements
         from Confidential Informants who observed Bobby Davis sell crack cocaine
         from the Concord area along with other members of the conspiracy. Based
         on statements made by these CI’s, the defendant’s attributable drug amounts
         exceeded 1.5 kilograms of crack. This amount includes the sale of crack
         cocaine that Bobby Davis sold, in addition to the reasonably foreseeable
         amount of drugs his co-conspirators sold during the time frames in which
         Davis was involved in the conspiracy.

  (Original Addendum to the PSR at 2.)

         More specifically, the relevant conduct section of the PSR outlines defendant’s

  involvement in the conspiracy:

         CI#1 stated that during the period he/she was living in Concord, which was
         from approximately 3/6/00, until approximately 10/10/00, he/she observed
         Bobby Davis sell on an average, at least an “eight-ball” of crack cocaine every
         day (an “eight ball” is approximately 3.5 grams). Davis would take turns
         selling this crack cocaine with the other CCA gang members selling at that
         location. . . . CI#1 also stated that there would be a handful of guys taking
         turns selling crack, maybe five or six at a time. CI#1 would estimate that they
         would each sell approximately an “eight-ball” of crack per day, on average.
         Seven months at 3.5 grams per day is approximately 735 grams of crack
         cocaine. Given five people each selling 3.5 grams of crack during a seven



         2
          Under the sentencing guidelines applicable at that time, any quantity of crack in
  excess of 1.5 kilograms corresponded to the maximum base offense level of 38. U.S.
  SENTENCING GUIDELINES MANUAL § 2D1.1(c) (2003).

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USDC IN/ND case 2:01-cr-00098-JTM-APR             document 1314       filed 05/31/12    page 4 of 6


         month period is approximately 3,675 grams of crack cocaine, or 3.675
         kilograms of crack.

  (PSR at 5.) The relevant conduct section of the PSR also states that witnesses indicated

  that other members of the conspiracy “were obtaining kilogram quantities of cocaine

  and converting it into crack cocaine.” (Id.)3

         In ruling on a Section 3582(c)(2) motion, a court may not rely on new factual

  findings that are inconsistent with the original findings made at sentencing. United

  States v. Nalls, 358 F. App’x 735, 736-37 (7th Cir. 2010); see also United States v. Woods, 581

  F.3d 531, 538 (7th Cir. 2009). However, “nothing prevents the court from making new

  findings that are supported by the record and not inconsistent with the findings made

  in the original sentencing determination.” United States v. Hall, 600 F.3d 872, 876 (7th

  Cir. 2010); see also United States v. Jackson, 365 F. App’x 690, 691 (7th Cir. 2010) (“A

  district court can make new findings when addressing a motion to reduce a sentence

  when there is ample evidence on the record to support the new finding and that finding

  does not conflict with the district court’s previous conclusion.”).

         As mentioned above, the only quantity finding that the court has made in this

  case is that defendant is responsible for distributing in excess of 1.5 kilograms of crack.

  Although it has never made a more specific quantity finding, the court chooses to do so




         3
         Additionally, at defendant’s sentencing hearing, the court recognized that
  defendant was “an active participant in this very large drug and gun conspiracy.”
  (Bobby Davis Sentencing Tr. 58-59, Feb. 11, 2003.)

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USDC IN/ND case 2:01-cr-00098-JTM-APR           document 1314      filed 05/31/12     page 5 of 6


  now. The court finds, by a preponderance of the evidence, that defendant is responsible

  for distributing 3.675 kilograms of crack.

         This finding is not inconsistent with the factual finding at defendant’s

  sentencing. Because the only quantity finding made at defendant’s sentencing was that

  defendant was responsible for “more than 1.5 kilograms of crack cocaine base” (Bobby

  Davis Sentencing Tr. 59, Feb. 11, 2003), the new finding that defendant is responsible for

  3.675 kilograms of crack is not inconsistent with the original finding made at

  sentencing.

         Additionally, the finding that defendant is responsible for 3.675 kilograms of

  crack is not inconsistent with defendant’s previous sentence reduction under

  Amendment 706. As noted above, both the government and defendant agreed that

  under Amendment 706, defendant’s appropriate guideline range was 235-293 months,

  which corresponded to a total offense level of 38. (DE # 1195 at 1-2, 4). That total offense

  level consisted of a base offense level of 36 and a two-level enhancement for the

  weapons violation. After Amendment 706, the amount of crack required for a base

  offense level of 36 was at least 1.5 kilograms crack but less than 4.5 kilograms of crack.

  U.S. SENTENCING GUIDELINES MANUAL § 2D1.1(c)(2) (2009). Thus, the new factual finding

  that defendant is responsible for 3.675 kilograms of crack is not inconsistent with the

  range used to calculate the base offense level for defendant’s sentence reduction under

  Amendment 706.




                                               5
USDC IN/ND case 2:01-cr-00098-JTM-APR            document 1314       filed 05/31/12    page 6 of 6


         Under the current guidelines, the 3.675 kilograms of crack that defendant is

  responsible for results in a base offense level of 36, and a total offense level of 38

  (including the two-level increase for the weapons violation). U.S. SENTENCING

  GUIDELINES MANUAL § 2D1.1(c)(2). A total offense level of 38 combined with a criminal

  history of I results in a guideline range of 235-293 months. Thus, defendant’s applicable

  guideline range has not changed. His guideline range under Amendment 750 remains,

  as it was under Amendment 706, 235-293 months.

         The court is authorized to reduce a sentence only when a defendant’s sentence is

  “based on a sentencing range that has subsequently been lowered by the Sentencing

  Commission” and the reduction is “consistent with applicable policy statements issued

  by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). The relevant policy statement

  here provides: “A reduction in the defendant’s term of imprisonment is not consistent

  with this policy statement and therefore is not authorized under 18 U.S.C. 3582(c)(2) if

  . . . [a]n amendment listed in subsection (c) does not have the effect of lowering the

  defendant’s applicable guideline range.”U.S. SENTENCING GUIDELINES MANUAL

  § 1B1.10(a)(2)(B). As explained above, defendant’s guideline range is still 235-293

  months. Because defendant’s guideline range has not been lowered, he does not qualify

  for a reduction. United States v. Taylor, 627 F.3d 674, 676 (7th Cir. 2010). Defendant’s

  motion for a reduced sentence (DE # 1291) is therefore DENIED.

                                             SO ORDERED.

         Date: May 31, 2012

                                             s/James T. Moody
                                             JUDGE JAMES T. MOODY
                                             UNITED STATES DISTRICT COURT
